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                             Nebraska Court of Appeals Advance Sheets
                                  28 Nebraska Appellate Reports
                                                   STATE v. JENKINS
                                                 Cite as 28 Neb. App. 931



                                        State of Nebraska, appellee, v.
                                         Erica A. Jenkins, appellant.
                                                     ___ N.W.2d ___

                                          Filed October 6, 2020.   No. A-19-430.

                 1. Motions for Mistrial: Appeal and Error. An appellate court will not
                    disturb a trial court’s decision about whether to grant a motion for mis-
                    trial unless the court has abused its discretion.
                 2. Judgments: Words and Phrases. An abuse of discretion occurs when a
                    trial court’s decision is based upon reasons that are untenable or unrea-
                    sonable or if its action is clearly against justice or conscience, reason,
                    and evidence.
                 3. Criminal Law: Juror Misconduct: Proof. A criminal defendant claim-
                    ing juror misconduct bears the burden of proving, by a preponderance
                    of the evidence, (1) the existence of juror misconduct and (2) that such
                    misconduct was prejudicial to the extent that the defendant was denied a
                    fair trial.
                 4. Criminal Law: Juror Misconduct: Appeal and Error. An appellate
                    court does not reweigh the evidence or resolve conflicts in the evi-
                    dence, but, rather, recognizes the trial court as the finder of fact and
                    takes into consideration that the trial court observed the jurors when
                    they testified.
                 5. Trial: Evidence: Appeal and Error. An appellate court reviews the trial
                    court’s conclusions with regard to evidentiary foundation for an abuse
                    of discretion.
                 6. Trial: Evidence: Witnesses. There is sufficient foundation to render
                    communications by telephone admissible in evidence where the identity
                    of the person with whom the witness spoke or the person whom he or
                    she heard speak is satisfactorily established. And a witness testifying
                    positively that he or she recognized, by voice, the person with whom he
                    or she was talking, is generally sufficient to present the evidence to the
                    jury to determine whether the conversation actually occurred.
                 7. Trial: Evidence: Appeal and Error. The improper admission of evi-
                    dence is a trial error and subject to harmless error review.
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          Nebraska Court of Appeals Advance Sheets
               28 Nebraska Appellate Reports
                             STATE v. JENKINS
                           Cite as 28 Neb. App. 931
 8. Criminal Law: Juries: Evidence. In a jury trial of a criminal case, an
    erroneous evidentiary ruling results in prejudice to a defendant unless
    the State demonstrates that the error was harmless beyond a reason-
    able doubt.
 9. Trial: Convictions: Evidence. Where the evidence is cumulative
    and there is other competent evidence to support the conviction, the
    improper admission or exclusion of evidence is harmless beyond a rea-
    sonable doubt.
10. Jury Instructions. Whether jury instructions given by a trial court are
    correct is a question of law.
11. Judgments: Appeal and Error. When dispositive issues on appeal pre­
    sent questions of law, an appellate court has an obligation to reach an
    independent conclusion irrespective of the decision of the court below.
12. Jury Instructions: Proof: Appeal and Error. In an appeal based on
    a claim of an erroneous jury instruction, the appellant has the burden
    to show that the questioned instruction was prejudicial or otherwise
    adversely affected a substantial right of the appellant.
13. Criminal Law: Juries: Sentences. Any fact that increases the manda-
    tory minimum sentence for a crime is an “element” of the crime and not
    a sentencing factor. Each element of an offense must be submitted to
    the jury.
14. Criminal Law: Juries: Proof. Pursuant to the language of Neb. Rev.
    Stat. § 28-932(1) (Reissue 2016), the use of a deadly or dangerous
    weapon in the commission of assault by a confined person is an ele-
    ment of the offense which must be submitted to the jury and proved
    beyond a reasonable doubt, because the use of a weapon increases the
    offense of assault by a confined person from a Class IIIA felony to a
    Class IIA felony.
15. Indictments and Informations: Lesser-Included Offenses: Notice:
    Jury Instructions. A trial court can, in certain circumstances, sua
    sponte instruct the jury on a lesser-included offense without the State’s
    specifically alleging the lesser-included offense in the information.
    However, the defendant has to have been afforded fair notice of the
    lesser-included offense.
16. Indictments and Informations: Lesser-Included Offenses: Notice.
    The nature of the crime charged in the information can provide the
    defendant with notice that he or she could face a lesser-included
    offense charge.
17. Jury Instructions: Appeal and Error. Jury instructions are subject
    to the harmless error rule, and an erroneous jury instruction requires
    reversal only if the error adversely affects the substantial rights of the
    complaining party.
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          Nebraska Court of Appeals Advance Sheets
               28 Nebraska Appellate Reports
                             STATE v. JENKINS
                           Cite as 28 Neb. App. 931
18. Verdicts: Appeal and Error. Harmless error review looks to the basis
    on which the trier of fact actually rested its verdict; the inquiry is not
    whether in a trial that occurred without the error a guilty verdict surely
    would have been rendered, but, rather, whether the actual guilty verdict
    rendered in the questioned trial was surely unattributable to the error.

  Appeal from the District Court for York County: James C.
Stecker, Judge. Affirmed.
   Gregory C. Damman, of Blevens &amp; Damman, for appellant.
   Douglas J. Peterson, Attorney General, and Austin N. Relph
for appellee.
   Pirtle, Bishop, and Arterburn, Judges.
   Arterburn, Judge.
                      I. INTRODUCTION
   Erica A. Jenkins appeals from her conviction in the district
court for York County for assault by a confined person with
a deadly weapon. A jury found Jenkins guilty, and the court
thereafter found her to be a habitual criminal and sentenced
her to 20 to 40 years’ imprisonment. On appeal, Jenkins
assigns three errors. First, she asserts that the district court
erred in overruling her motion for a mistrial after it was dis-
covered that certain prospective jurors had discussed the case
amongst themselves during the jury selection process. Second,
she asserts that the district court erred in permitting a prison
employee to testify about statements the employee overheard
Jenkins say to other inmates. Third, she asserts that the district
court erred in withdrawing and revising the jury instruction
regarding the elements of the charge of assault by a confined
person after the instruction was given to the jury. For the rea-
sons set forth herein, we affirm Jenkins’ conviction.
                      II. BACKGROUND
   Count I of the information filed by the State against Jenkins
alleged that on September 24, 2016, Jenkins, while con-
fined in a jail or adult correctional facility, used a deadly or
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        Nebraska Court of Appeals Advance Sheets
             28 Nebraska Appellate Reports
                         STATE v. JENKINS
                       Cite as 28 Neb. App. 931
dangerous weapon to “intentionally, knowingly, or recklessly
cause bodily injury to” a fellow inmate, Christine Bordeaux.
Count II of the information alleged that Jenkins used a deadly
weapon to commit a felony. The information further alleged
Jenkins to be a habitual criminal.
   The evidence presented at trial revealed that a few days
prior to September 24, 2016, Jenkins was moved into a cell
at the Nebraska Correctional Center for Women (NCCW),
which cell was already occupied by Bordeaux and two other
inmates. Jenkins and Bordeaux were related to each other
and had known each other outside of the NCCW. In fact,
they were codefendants in the felony cases which resulted in
their incarcerations. Bordeaux had testified against Jenkins in
exchange for a reduced sentence, and she was “also prepared
to testify against [Jenkins] in other criminal matters she was
charged with.” Bordeaux indicated that “everybody” in the
NCCW knew that Jenkins was upset with Bordeaux because of
her testimony.
   During the trial, Bordeaux testified that she did not want to
be placed in the same cell as Jenkins. She relayed her concerns
to prison staff and tried to stay out of the cell as much as pos-
sible because “there was a lot of tension in the air in the room.”
However, Bordeaux also admitted that when she arrived at the
NCCW, she did not formally request to be kept away from
Jenkins, because according to Bordeaux, such a request would
have restricted her housing options and restricted her access to
certain programming. Bordeaux told prison staff that she did
not fear for her safety upon entering the NCCW, even though
she was aware that Jenkins was already placed there.
   There was conflicting evidence presented regarding whether
Jenkins wanted to be placed in the same cell as Bordeaux.
Although one prison employee testified that he remembered
Jenkins “adamantly” desiring to be placed in Bordeaux’s cell,
other inmates who testified on Jenkins’ behalf indicated that
Jenkins did not want to move into Bordeaux’s cell and was,
in fact, upset with the assignment. Another prison employee
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        Nebraska Court of Appeals Advance Sheets
             28 Nebraska Appellate Reports
                        STATE v. JENKINS
                      Cite as 28 Neb. App. 931
sent an email to a coworker the morning of September 24,
2016, indicating that Jenkins was upset with her placement
in Bordeaux’s cell because of the amount of property being
stored there.
   The State’s main witnesses at trial were Bordeaux and an
inmate who had assisted Jenkins in the assault, Priscilla Fields.
Bordeaux testified that prior to Jenkins’ being moved into her
cell, she and Jenkins had interacted in the common areas of
the NCCW. Two weeks prior to September 24, 2016, Jenkins
had asked Bordeaux to sign an affidavit and other documents
retracting the testimony Bordeaux had given against Jenkins
during Jenkins’ trial. Bordeaux indicated that it was her under-
standing that Jenkins wanted to use the affidavit to obtain a
new trial. Bordeaux told Jenkins that she would be willing to
sign the papers, but she tried to “blow her off” during subse-
quent conversations. Prior to September 24, Bordeaux never
saw or signed any affidavit provided by Jenkins.
   Bordeaux testified that on September 24, 2016, she left her
cell to take a shower. When she returned to the cell, Jenkins
was the only other person there. Bordeaux sat down at the
sink to brush her hair, when she saw Jenkins come up behind
her. Jenkins pulled Bordeaux backward by her hair until she
fell to the floor. While Bordeaux was on the ground, Jenkins
started to punch her in the face and head. Bordeaux testified
that she turned over onto her stomach to try to block the
punches. At that point, she heard Fields enter into the cell.
Fields began to kick her. Bordeaux believed that at some
point during the assault, she lost consciousness. She testified
that she awoke to the sound of a clicking noise, which she
believed was a padlock. Jenkins then hit Bordeaux “mul-
tiple times in the head and the face again with the padlock.”
Bordeaux explained that Jenkins “put it, like, between her
fingers, over her knuckles.” She also stated, that at some
point, the hits from the padlock felt different, with more of a
“swaying motion and kind of a slower hit.” Bordeaux denied
that she ever saw Fields use the padlock to hit her. Bordeaux
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        Nebraska Court of Appeals Advance Sheets
             28 Nebraska Appellate Reports
                        STATE v. JENKINS
                      Cite as 28 Neb. App. 931
testified that the assault lasted about 45 minutes. During this
time, Jenkins remained in the cell with Bordeaux, but Fields
moved in and out of the cell.
   Jenkins eventually allowed Bordeaux to get up and instructed
Fields to go get some ice. Bordeaux testified that Jenkins then
told her: “‘I’m sorry I had to do this to you. You — now you’re
going to act right. You’re going to sign these papers. We’re
going to get this paperwork straightened out . . . .’”
   When prison staff came to the cell a short while later,
Bordeaux denied being assaulted and refused medical treat-
ment. She testified that she went along with Jenkins’ expla-
nation that she had tripped over a “footlocker” and hit her
face because Jenkins was still in the cell with her. Eventually,
Bordeaux was removed from the cell in a wheelchair and trans-
ported to a hospital where she was diagnosed with a fracture
to her nose and “left pinky” finger, with multiple contusions
to her face and arms, and with a concussion. Photographs
of Bordeaux’s injuries which were admitted into evidence
revealed that the bruises on Bordeaux’s arms were in a circular
shape, similar to that of a padlock.
   Although Bordeaux told a nurse at the NCCW and a doctor
at the emergency room that she had been assaulted, she did
not immediately report that it was Jenkins who assaulted her.
Despite Bordeaux’s initial denial about the assault and about
the perpetrators, Jenkins and Fields were taken to the restric-
tive housing unit shortly after the incident on September 24,
2016. Fields was evaluated by a nurse at the NCCW when she
was taken to the restrictive housing unit. The nurse observed
no signs of any injury on Fields. Fields did not indicate that
she was in any pain or that she had any injuries. Jenkins
refused the medical evaluation. Nine days after the incident,
Bordeaux spoke with prison staff and reported that Jenkins had
assaulted her.
   Fields testified pursuant to a plea agreement with the State.
In exchange for her truthful testimony, the State agreed to
dismiss a pending charge of use of a weapon to commit a
felony and an allegation that Fields was a habitual criminal.
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        Nebraska Court of Appeals Advance Sheets
             28 Nebraska Appellate Reports
                         STATE v. JENKINS
                       Cite as 28 Neb. App. 931
Fields was to plead guilty or no contest to assault on a confined
inmate. Based upon her participation in the plea agreement,
Fields’ possible punishment changed from up to 60 years’
imprisonment (including a mandatory minimum of 10 years) to
up to 20 years’ imprisonment.
   Fields testified that prior to September 24, 2016, she was
acquainted with Jenkins and was aware that Jenkins was not
happy with Bordeaux because Bordeaux had testified against
her. Fields testified it is not good to be a “snitch.” Fields knew
that Jenkins had asked Bordeaux to sign an affidavit retract-
ing her prior testimony so that Jenkins could receive a new
trial. Even though Jenkins had asked for Bordeaux’s coopera-
tion, Fields had previously heard Jenkins say that she wanted
to “beat [Bordeaux] up.” When Jenkins moved into the same
cell as Bordeaux, Jenkins told Fields that she could not sleep
at night because she “wanted to do something to [Bordeaux].”
To the contrary, Fields testified that she had no problems or
disagreements with Bordeaux which would cause her to want
to assault her.
   While Bordeaux was in the shower on September 24, 2016,
Jenkins and Fields discussed going to Bordeaux’s cell in order
to beat her up. Fields explained that at this time, she under-
stood the conversation to be about a mutual fight between
Jenkins and Bordeaux.
   When Bordeaux returned to her cell from the shower, Fields
observed Jenkins follow Bordeaux into their cell. When Fields
arrived in the cell shortly thereafter, Jenkins was already hit-
ting Bordeaux. Fields admitted that she kicked Bordeaux a few
times in order to prove to Jenkins that she was going to help
with the assault. Then, Fields left the cell in order to see where
the guards were. Fields testified that Bordeaux was scream-
ing very loudly, and Fields knew that she and Jenkins were
going to get into trouble. When Fields returned to the cell, she
observed Jenkins hitting Bordeaux with a padlock.
   After the assault, Fields observed that Jenkins was clean-
ing up blood in the cell. Fields assisted by disposing of
some bloody towels. Jenkins told Fields and Bordeaux that if
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        Nebraska Court of Appeals Advance Sheets
             28 Nebraska Appellate Reports
                        STATE v. JENKINS
                      Cite as 28 Neb. App. 931
anyone asked about Bordeaux’s injuries to say that Bordeaux
had fallen. Ultimately, Fields was placed in restrictive hous-
ing along with Jenkins. After staying in restrictive housing
for a week or two, Fields told investigators that Jenkins and
Bordeaux had engaged in a mutual fight and Jenkins had only
been defending herself. Fields explained that she was not ini-
tially forthcoming with investigators, because she was afraid
of Jenkins. Eventually, however, she decided to cooperate with
authorities and tell the truth about what happened.
    Video surveillance of the common areas of the NCCW cor-
roborates Bordeaux’s and Fields’ testimony about the assault.
The video depicts Jenkins and Fields sitting at a table together
when Bordeaux was in the shower. The video then shows
Bordeaux returning from the shower and Jenkins following her
into the cell. Fields follows Jenkins after a few moments, but
it appears that she is looking around for the guards and prison
staff as she walks. Fields goes in and out of the cell multiple
times over the next hour, but Jenkins and Bordeaux remain in
the cell for a significant period of time.
    The defense’s theory at trial, which was presented through
cross-examination and through the testimony of other inmates,
was that it was Fields who assaulted Bordeaux and not Jenkins.
The defense offered evidence to demonstrate that Fields was
a violent inmate. Specifically, Jenkins questioned Fields and
prison staff regarding prior incidents of violence involving
Fields. During her testimony, Fields admitted to struggling
with “an anger problem.” She also admitted to having previ-
ously assaulted another inmate using a cup. A prison employee
concurred with Fields’ account of the prior incident. She tes-
tified that she observed Fields strike another inmate with a
plastic cup enough times to break the handle off of the cup.
In addition, the employee testified that Fields had also hit
the other inmate’s head into a table during the altercation. An
inmate who testified on Jenkins’ behalf indicated that she was
aware that Fields had “several conflicts with people that hung
out with” Bordeaux.
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        Nebraska Court of Appeals Advance Sheets
             28 Nebraska Appellate Reports
                        STATE v. JENKINS
                      Cite as 28 Neb. App. 931
   Jenkins also attempted to show that Fields had a motive
to assault Bordeaux due to a recent incident that occurred
between Bordeaux and another inmate, Milea Ixta, in whom
Fields had a romantic interest. A prison employee testified
that on September 20, 2016, just 4 days before the incident
in Bordeaux’s cell, Bordeaux got into an argument with Ixta.
Bordeaux exchanged words with Ixta and, apparently, threat-
ened to harm her. When the prison employee intervened in the
argument, he observed Bordeaux raise her fists at Ixta. Upon
the employee’s request, Bordeaux returned to her cell. The
prison employee described this event as the type that happens
frequently at the NCCW. He also testified that in his experi-
ence, he did not believe Bordeaux to be “an aggressive or
assaultive type of person.”
   At the close of the evidence, the State made a motion to
amend the information. The State wished to remove the words
“‘or dangerous’” from the definition of the weapon used by
Jenkins during the assault, such that she was alleged to have
used “a deadly weapon to intentionally, knowingly, or reck-
lessly cause bodily injury to” Bordeaux. Jenkins did not object
to the State’s proposed amendment.
   Ultimately, the jury convicted Jenkins of assault by a con-
fined person. The jury found that a deadly weapon—the pad-
lock—had been used during the commission of the assault.
The jury found Jenkins not guilty of use of a deadly weapon to
commit a felony.
   Prior to sentencing, the district court found that Jenkins was
a habitual criminal. As such, it sentenced her to 20 to 40 years’
imprisonment, to be served consecutively to any other sentence
she was currently serving.
   Jenkins appeals from her conviction here.
               III. ASSIGNMENTS OF ERROR
   On appeal, Jenkins assigns three errors by the district court.
First, she asserts that the district court erred in overruling
her motion for a mistrial after it was discovered that certain
prospective jurors had discussed the case amongst themselves
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        Nebraska Court of Appeals Advance Sheets
             28 Nebraska Appellate Reports
                         STATE v. JENKINS
                       Cite as 28 Neb. App. 931
during the jury selection process. Second, she asserts that the
district court erred in permitting a prison employee to testify
about statements she overheard Jenkins say to other inmates.
Third, she asserts that the district court erred in withdrawing
and revising the jury instruction regarding the elements of the
charge of assault by a confined person after the instruction was
given to the jury.
                          IV. ANALYSIS
                    1. Motion for Mistrial
                     (a) Standard of Review
   [1,2] An appellate court will not disturb a trial court’s deci-
sion about whether to grant a motion for mistrial unless the
court has abused its discretion. State v. Thorpe, 280 Neb. 11,
783 N.W.2d 749 (2010). An abuse of discretion occurs when a
trial court’s decision is based upon reasons that are untenable
or unreasonable or if its action is clearly against justice or con-
science, reason, and evidence. Id.                   (b) Additional Background
   During the jury selection process, a recess was taken so
that certain jurors could be questioned individually regarding
their prior knowledge of the case and of Jenkins. While these
individuals were questioned one at a time in a different court-
room, the remainder of the potential jurors stayed in the jury
room. The district court did not give the potential jurors any
instructions prior to taking the recess and sending them to the
jury room. During the individual questioning, it came to the
parties’ and to the court’s attention that between two and four
of the potential jurors in the jury room had discussed the case
with each other. The exact content of the potential jurors’ con-
versation is not entirely clear from our record. There was some
indication that one of the potential jurors wondered aloud why
they had to be there, since Jenkins was already incarcerated.
There were other indications that the potential jurors involved
in the conversation had already made up their minds regarding
Jenkins’ guilt. However, there was also some indication that
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        Nebraska Court of Appeals Advance Sheets
             28 Nebraska Appellate Reports
                        STATE v. JENKINS
                      Cite as 28 Neb. App. 931
the jurors involved merely discussed certain facts surrounding
the case: the “padlock in the sock” and the fact that the victim
was one of Jenkins’ relatives.
   Once the court learned about the conversation in the jury
room, it reassembled the potential jurors and specifically
admonished them not to discuss the case with anyone, includ-
ing each other. Further individual questioning completed by the
parties revealed that at least two of the jurors were involved in
the conversation about the case. These two jurors were struck
for cause. In addition, the original juror who had reported the
conversation was also struck from the panel for cause.
   The individual questioning of the jurors continued. During
this individual questioning, defense counsel asked some, but
not all, of the potential jurors whether they had overheard the
conversation in the jury room regarding the case. After the
individual questioning had ended, Jenkins made a motion for
a mistrial based upon the conversation between the potential
jurors. She argued that the entire jury pool had been tainted by
the comments. The State objected to the motion for a mistrial,
arguing that the court’s instructions would cure any potential
issues. In addition, the State argued this was an isolated state-
ment that most of the jurors indicated they did not overhear.
Ultimately, the court agreed with the State and denied Jenkins’
motion for a mistrial.
   Of the individuals who were selected to sit on the jury,
four were questioned individually, but never asked about the
conversation in the jury room. One of the individuals selected
for the jury was asked about the conversation, but denied
hearing anything. Another individual selected was also asked
about the conversation and indicated he did remember hearing
someone wonder aloud why they had to be there when Jenkins
was already incarcerated and probably guilty. Four individ­
uals selected for the jury were never in the jury room and, as
a result, did not overhear anything said. Three of the individ­
uals selected for the jury were never questioned individually.
All of the individuals selected for the jury specifically indi-
cated that they were capable of deciding the case based upon
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             28 Nebraska Appellate Reports
                        STATE v. JENKINS
                      Cite as 28 Neb. App. 931
the evidence presented during the trial and that they would
put aside any other information known to them in deciding
Jenkins’ guilt or innocence.
                           (c) Analysis
   On appeal, Jenkins argues that the district court erred in
denying her motion for a mistrial because the “jury pool [was]
tainted beyond repair” due to the inappropriate comments made
in the jury room. Brief for appellant at 30. Upon our review,
we cannot say that the district court abused its discretion in
overruling Jenkins’ motion for a mistrial.
   [3] A criminal defendant claiming juror misconduct bears
the burden of proving, by a preponderance of the evidence, (1)
the existence of juror misconduct and (2) that such misconduct
was prejudicial to the extent that the defendant was denied a
fair trial. See State v. Thorpe, 280 Neb. 11, 783 N.W.2d 749(2010). Here, the record indicates that a few of the potential
jurors engaged in a conversation among themselves regard-
ing the facts of the case and Jenkins’ guilt or innocence prior
to deliberations. At the time this conversation occurred, the
potential jurors had not been specifically admonished by the
district court to not discuss the case with anyone, including
each other. As a result, it is not entirely clear whether the
jurors’ actions should be referred to as “juror misconduct” or
whether we should attribute the conversation between jurors
as trial court error. See State v. Nissen, 252 Neb. 51, 560
N.W.2d 157 (1997). Although the parties were still in the
process of selecting jurors and, as a result, no jury had been
formally sworn in, the better, safer practice for the district
court would have been to admonish the potential jurors to
not discuss the case with anyone, including each other, prior
to moving the potential jurors to the jury room to await indi-
vidual questioning.
   Here, we need not specifically decide whether the conversa-
tion between the potential jurors regarding the facts of the case
and Jenkins’ guilt or innocence prior to deliberations should
be characterized as juror misconduct or as trial error. Under
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                         STATE v. JENKINS
                       Cite as 28 Neb. App. 931
either characterization, we conclude that the district court prop-
erly denied Jenkins’ motion for a mistrial because Jenkins can-
not demonstrate prejudice which denied her a fair trial.
   The potential jurors who were directly identified as being a
part of the conversation were struck for cause by the district
court. Further, only one of the jurors who was actually seated
on the jury indicated that he had overheard the conversation
had by the struck jurors. That juror answered affirmatively
when asked whether he would “be able to evaluate the guilt or
innocence of [Jenkins] based on the evidence that is presented
within the four walls of [the] courtroom.” Of the remaining
individuals seated on the jury, one of them denied hearing the
conversation and four others were not in the jury room when
the conversation occurred. The other six individuals seated on
the jury were either not asked whether they heard the conver-
sation when the parties questioned them individually or they
were not individually questioned by the parties.
   In her brief on appeal, Jenkins argues that because the dis-
trict court failed to question all of the potential jurors about
whether they overheard the conversation, there is a question
about the extent that the jury was tainted. However, our record
reveals that Jenkins’ counsel chose not to question many of
the potential jurors about the conversation despite having the
opportunity to individually question the potential jurors after
counsel learned of the conversation. Defense counsel was
never denied the opportunity to ask the potential jurors about
any potential biases, including about whether each juror had
overheard the struck jurors’ conversation. In fact, the district
court gave defense counsel great latitude in questioning the
jurors individually. Because Jenkins was given every opportu-
nity to ask the potential jurors about whether they overheard
the conversation, she cannot now argue that there is a lack of
information in our record.
   [4] Jenkins also questions whether the jurors who were
asked about the conversation provided truthful information to
the parties. We note that we do not reweigh the evidence or
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             28 Nebraska Appellate Reports
                         STATE v. JENKINS
                       Cite as 28 Neb. App. 931
resolve conflicts in the evidence, but, rather, recognize the trial
court as the finder of fact and take into consideration that it
observed the jurors when they testified. State v. Anderson, 252
Neb. 675, 564 N.W.2d 581 (1997). The district court clearly
believed the jurors who testified that they had not overheard
the conversation or who indicated that even if they had heard
the conversation, it would not affect their ability to base a ver-
dict on the evidence presented at trial. We do not question the
district court’s credibility determinations.
   It does not appear based upon our reading of the record that
the jury was “tainted beyond repair” as alleged by Jenkins.
Brief for appellant at 30. Rather, we conclude, as did the
district court, that the conversation between the struck jurors
constituted isolated statements which, for the most part, went
unheard by the other potential jurors. There is simply insuf-
ficient evidence to demonstrate that Jenkins was denied a fair
trial due to the conversation between a few of the potential
jurors. Because there was no apparent prejudice, we cannot
find that the district court abused its discretion in denying
Jenkins’ motion for a mistrial.

                 2. Admissibility of Statements
                   Overheard by Prison Staff
                      (a) Standard of Review
   [5] An appellate court reviews the trial court’s conclusions
with regard to evidentiary foundation for an abuse of discre-
tion. State v. Ferguson, 301 Neb. 697, 919 N.W.2d 863 (2018).
A judicial abuse of discretion exists only when the reasons or
rulings of a trial judge are clearly untenable, unfairly depriving
a litigant of a substantial right and denying a just result in mat-
ters submitted for disposition. State v. Ralios, 301 Neb. 1027,
921 N.W.2d 362 (2019).

                  (b) Additional Background
   After Jenkins was moved to the restrictive housing unit
as a result of her involvement in the assault of Bordeaux, a
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                        STATE v. JENKINS
                      Cite as 28 Neb. App. 931
corporal at the NCCW, Sherry Gragg, was assigned to work
in the control room for that area. This was not Gragg’s typi-
cal assignment. Normally, she worked in the visitation room,
the kitchen, or in the yard at the NCCW. While working in
the visitation room and the yard, Gragg became familiar with
Jenkins and with Jenkins’ voice. Gragg testified that Jenkins
had a distinctive voice that she remembered.
   On September 27, 2016, Gragg was filling in for another
prison employee in the control room for the restrictive hous-
ing unit. While each inmate is housed in her own cell in the
restrictive housing unit, the inmates can communicate with
each other by yelling through the doors. As a part of Gragg’s
duties, she would turn speakers on in the hallway of the unit
while another corporal would complete routine checks on
the inmates. Gragg explained that when those speakers were
turned on, she could hear what the inmates were saying to each
other through their doors. During one such occasion when the
speakers were turned on, Gragg overheard Jenkins discussing
her conversation with a lieutenant at the NCCW regarding
Bordeaux’s having fallen down and being injured. Gragg heard
Jenkins confirm that this is how Bordeaux got hurt before
Jenkins stated, “‘They should have let me finish the bitch
off.’” Jenkins then began laughing.
   Jenkins objected to Gragg’s testimony regarding what she
overheard Jenkins say through the restrictive housing unit’s
speakers. She asserted that the testimony lacked foundation
because Gragg lacked the full context of the conversation.
The State argued that the lack of complete context went to
the weight of the statement and to Gragg’s credibility, rather
than to the testimony’s admissibility. The court agreed with the
State and overruled Jenkins’ objection to the testimony. The
court stated,
      All right. The Court has heard testimony that she rec-
      ognizes the voice; that there are microphones that were
      operating. I believe sufficient foundation has been laid.
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                         STATE v. JENKINS
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        Your concerns that you’ve raised, [defense counsel], go
     to weight . . . you’ll have an opportunity to cross-examine
     as to the context and accuracy.

                            (c) Analysis
   On appeal, Jenkins asserts that the court erred by overruling
her foundation objection and admitting the testimony into evi-
dence. Specifically, she argues:
      Because [Gragg] was not personally present for the conver­
      sation, not able to see the persons engaged in the conversa-
      tion, and not aware of the details of how the microphone/
      speaker system worked, it was error for the [district] court
      to allow her to testify about a snippet of conversation
      she happened to overhear while ­intermittently monitor-
      ing sound from a hallway outside of [an] inmate cell for
      5 to 10 minutes at a time each hour. Her testimony failed
      to show that the system upon which she relied worked in
      such a way that [Jenkins’] words could be put into proper
      context. This is no different than a party playing one brief
      sentence from an entire surveillance recording of a con-
      versation on the basis that there would be no need to play
      the entire recording for the jury.
Brief for appellant at 36-37. Upon our review, we do not find
that the district court erred in overruling Jenkins’ objection to
Gragg’s testimony on foundational grounds.
   At trial, Gragg testified that Jenkins was housed in the
restrictive housing unit at the time Gragg overheard the state-
ments about Bordeaux and her injuries. Gragg also testified
that she had previously heard Jenkins’ voice on multiple occa-
sions and found it to be distinctive and memorable. Gragg
testified that even though she could not see Jenkins, she
knew that it was Jenkins whom she heard make the state-
ments regarding Bordeaux. Gragg overheard the statements
via a microphone and speaker system in the restrictive hous-
ing unit. She admitted that she did not know exactly how the
system operated.
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                         STATE v. JENKINS
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   [6] Contrary to Jenkins’ arguments on appeal, Gragg’s
knowledge of how the microphone and speaker system worked
is not a foundational requirement for the admission of her tes-
timony. Gragg testified that she was able to recognize Jenkins’
voice and provided information about something that she per-
sonally overheard Jenkins say which was, arguably, pertinent
to this case. Gragg’s testimony was sufficient to provide the
necessary foundation to admit the statements made by Jenkins.
The Nebraska Supreme Court has
      long held that there is sufficient foundation to render com-
      munications by telephone admissible in evidence where
      the identity of the person with whom the witness spoke
      or the person whom he or she heard speak is satisfactorily
      established. And a witness testifying positively that he or
      she recognized, by voice, the person with whom he or she
      was talking, is generally sufficient to present the evidence
      to the jury to determine whether the conversation actu-
      ally occurred.
State v. Ferguson, 301 Neb. 697, 717-18, 919 N.W.2d 863, 880
(2018). The Supreme Court has not required a witness testi-
fying about a telephone call to understand precisely how the
telephone system works. Similarly, Gragg was not required to
understand exactly how the NCCW’s speaker system worked in
order to testify about comments she overheard Jenkins say to
the other inmates in the restrictive housing unit.
   In addition, we concur with the district court’s finding that
Gragg’s inability to provide complete context for Jenkins’
statements went to the weight and credibility of her testimony,
not to its admissibility. In fact, we point out that during the
cross-examination of Gragg, Jenkins’ counsel fully questioned
Gragg about her lack of knowledge regarding the context for
Jenkins’ statements. Gragg indicated that she had not heard any
additional conversation regarding Bordeaux, nor did she know
what precipitated Jenkins’ comments or the conversation which
came after Jenkins’ comments. The jury was permitted to con-
sider Gragg’s lack of complete knowledge in determining the
weight to give her testimony.
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                        STATE v. JENKINS
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   [7-9] Finally, we note that even if the district court abused
its discretion in admitting Gragg’s testimony about the state-
ments she overheard Jenkins utter in the restrictive housing
unit, such error would be harmless. The improper admission of
evidence is a trial error and subject to harmless error review.
State v. Mora, 298 Neb. 185, 903 N.W.2d 244 (2017). In a
jury trial of a criminal case, an erroneous evidentiary ruling
results in prejudice to a defendant unless the State demon-
strates that the error was harmless beyond a reasonable doubt.
Id. Where the evidence is cumulative and there is other com-
petent evidence to support the conviction, the improper admis-
sion or exclusion of evidence is harmless beyond a reasonable
doubt. Id. Here, there was other competent evidence to support
Jenkins’ conviction for assault by a confined person. Bordeaux
testified that it was Jenkins who assaulted her in their shared
cell. Fields also testified that it was Jenkins who assaulted
Bordeaux. The evidence also revealed that Jenkins had a
motive to assault Bordeaux given that Jenkins was angry that
Bordeaux had testified against her and was less than willing to
retract that testimony.
   Because we conclude that there was sufficient foundation
for Gragg’s testimony regarding the statements she overheard
Jenkins make and because we find that any error in admitting
such testimony was harmless, we affirm the decision of the
district court to overrule Jenkins’ foundational objection to
Gragg’s testimony.

          3. Revising Jury Instruction No. 4 After
              Jury’s Deliberations Had Begun
                     (a) Standard of Review
   [10-12] Whether jury instructions given by a trial court are
correct is a question of law. State v. Welch, 275 Neb. 517, 747
N.W.2d 613 (2008). When dispositive issues on appeal pre­
sent questions of law, an appellate court has an obligation to
reach an independent conclusion irrespective of the decision
of the court below. Id. In an appeal based on a claim of an
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                         STATE v. JENKINS
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erroneous jury instruction, the appellant has the burden to show
that the questioned instruction was prejudicial or ­otherwise
adversely affected a substantial right of the appellant. Id.                    (b) Additional Background
   Included in the court’s original instructions to the jury was
jury instruction No. 4, which delineated the elements of assault
by a confined person as follows:
         (1) Erica A. Jenkins
         (2) In York County, Nebraska
         (3) On or about September 24, 2016
         (4) While confined in a jail or adult correctional facil-
      ity or otherwise in legal custody of the Department of
      Correctional Services
         (5) Used a deadly weapon
         (6) To intentionally, knowingly, or recklessly
         (7) Cause bodily injury to Christine Bordeaux
         If you decide that the [S]tate proved each element
      beyond a reasonable doubt then you must find [Jenkins]
      guilty. Otherwise, you must find [Jenkins] not guilty.
During the jury’s deliberations, it forwarded a question to
the court. That question asked whether, “‘On Count 1, did
[Jenkins] have to use a deadly weapon?’”
   In a discussion with the court about how to answer the jury’s
question, the parties disputed whether assault by a confined
person was a lesser-included offense of assault by a confined
person with a deadly weapon. Jenkins asserted that it was a
lesser-included offense and that because the State had spe-
cifically charged Jenkins with using a deadly weapon to cause
bodily injury to Bordeaux, that it would be unfair to allow
Jenkins to be convicted of the lesser-included offense.
   The State, on the other hand, argued that the use of a deadly
weapon was not a required element for the commission of
assault by a confined person as delineated in Neb. Rev. Stat.
§ 28-932(1) (Reissue 2016), which provides:
      Any person (a)(i) who is legally confined in a jail
      or an adult correctional or penal institution, (ii) who
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                         STATE v. JENKINS
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      is otherwise in legal custody of the Department of
      Correctional Services, or (iii) who is committed as a dan-
      gerous sex offender under the Sex Offender Commitment
      Act and (b) who intentionally, knowingly, or recklessly
      causes bodily injury to another person shall be guilty of
      a Class IIIA felony, except that if a deadly or dangerous
      weapon is used to commit such assault, he or she shall be
      guilty of a Class IIA felony.
The State argued that whether a person used a deadly weapon
as a part of the offense only affected the “level” of the offense.
The State compared the statute to theft statutes which grade the
offense based upon the value of the item stolen.
   The court agreed with the State and revised jury instruction
No. 4 as follows:
         The elements of Assault by a Confined Person are:
         (1) Erica A. Jenkins
         (2) In York County, Nebraska
         (3) On or about September 24, 2016
         (4) While confined in a jail or adult correctional facil-
      ity or otherwise in legal custody of the Department of
      Correctional Services
         (5) Intentionally, knowingly, or recklessly
         (6) Caused bodily injury to Christine Bordeaux
         If you decide that the [S]tate proved each element
      beyond a reasonable doubt then you must find [Jenkins]
      guilty. Otherwise, you must find [Jenkins] not guilty.
         If you find that the State proved each element beyond a
      reasonable doubt, then you must determine on the verdict
      form whether a deadly weapon was used beyond a reason-
      able doubt.
Shortly after the court revised jury instruction No. 4, the jury
returned a verdict. The jury found Jenkins guilty of assault by
a confined person and indicated that they also found, beyond
a reasonable doubt, that a deadly weapon had been used to
commit the offense. The jury returned a not guilty verdict on
count II.
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                        STATE v. JENKINS
                      Cite as 28 Neb. App. 931
                           (c) Analysis
   On appeal, Jenkins asserts that the district court erred in
revising jury instruction No. 4 based upon the jury’s question
regarding whether the use of a deadly weapon was an element
of assault by a confined person. Specifically, she asserts that
the revised jury instruction permitted the jury to determine
whether Jenkins committed a crime that she was not charged
with in the information. Upon our review, we determine that
to the extent the district court erred by revising the elements
instruction after the jury had begun their deliberations, such
error was ultimately harmless.
   [13,14] In our analysis, we first must determine whether the
use of a deadly weapon should be considered an element of the
offense of assault by a confined person or whether it is to be
considered a sentence enhancement factor. In Alleyne v. United
States, 570 U.S. 99, 133 S. Ct. 2151, 186 L. Ed. 2d 314 (2013),
the U.S. Supreme Court held that any fact that increases the
mandatory minimum sentence for a crime is an “element”
of the crime and not a sentencing factor. Each element of an
offense must be submitted to the jury. Id. The Court’s holding
in Alleyne expanded on its previous holding in Apprendi v. New
Jersey, 530 U.S. 466, 490, 120 S. Ct. 2348, 147 L. Ed. 2d 435(2000), where the Court articulated the constitutional principle
that “[o]ther than the fact of a prior conviction, any fact that
increases the penalty for a crime beyond the prescribed statu-
tory maximum must be submitted to a jury, and proved beyond
a reasonable doubt.” In applying the rules articulated in Alleyne
and Apprendi to the language of § 28-932(1), it is clear that
the use of a deadly or dangerous weapon in the commission
of assault by a confined person is an element of the offense
which must be submitted to the jury and proved beyond a
reasonable doubt. The use of a weapon increases the offense
of assault by a confined person from a Class IIIA felony to a
Class IIA felony.
   The original jury instruction No. 4 which was submitted to
the jury prior to the start of the deliberations clearly treated
the use of a deadly weapon as an element of the offense of
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                         STATE v. JENKINS
                       Cite as 28 Neb. App. 931
assault by a confined person. The original jury instruction mir-
rored the language of the information and specifically listed
the use of a deadly weapon as one of the seven elements the
State had to have proved beyond a reasonable doubt before the
jury could return a verdict of guilty. The revised jury instruc-
tion No. 4 removed the use of a weapon from the delineated
list of elements for assault by a confined person. As such, the
revised instruction only provided six elements which needed
to be proved beyond a reasonable doubt in order for the jury
to return a verdict of guilty. However, the revised instruction
went on to inform the jury that if it found the State had proved
each of the six delineated elements of assault by a confined
person beyond a reasonable doubt, that it then must determine,
beyond a reasonable doubt, whether a deadly weapon was used
during the assault. As a result of this last directive, the revised
jury instruction is not an incorrect statement of the law. It
correctly informed the jury that it must find each element of
assault by a confined person, including the use of a deadly
weapon, beyond a reasonable doubt. The difference between
the original instruction and the revised instruction is that the
revised instruction permitted the jury to find Jenkins guilty
of assault by a confined person, even if the jury found that
Jenkins did not use a deadly weapon during the commission of
the assault.
   [15,16] Essentially, revised jury instruction No. 4 allowed
the jury to convict Jenkins of a lesser-included offense, an
option that was not available to them under the original
instruction. See State v. Al-Zubaidy, 263 Neb. 595, 641 N.W.2d
362 (2002) (reiterating that test for determining whether crime
is lesser-included offense is whether offense in question can-
not be committed without committing lesser offense). In the
information, the State did not charge Jenkins with the lesser-
included offense. Instead, the State charged Jenkins only with
assault by a confined person with a deadly weapon. We rec-
ognize that a trial court can, in certain circumstances, sua
sponte instruct the jury on a lesser-included offense without
the State’s specifically alleging the lesser-included offense in
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                         STATE v. JENKINS
                       Cite as 28 Neb. App. 931
the information. See State v. Pribil, 224 Neb. 28, 395 N.W.2d
543 (1986). However, the defendant has to have been afforded
fair notice of the lesser-included offense. Id. The nature of
the crime charged in the information can provide the defend­
ant with notice that he or she could face a lesser-included
offense charge. See State v. James, 265 Neb. 243, 655 N.W.2d
891 (2003).
   Here, the district court instructed the jury on the lesser-
included offense only after the jury had begun its delibera-
tions. We question whether the district court’s action provided
Jenkins with proper notice or a chance to timely object to
including the lesser-included offense in the jury instructions.
We have found no Nebraska case law in which a trial court has
added a lesser-included offense charge to the jury instructions
after the deliberations have begun.
   [17,18] Ultimately, however, we need not decide the cor-
rectness of the district court’s decision to revise the elements
instruction mid-deliberations, because we find that any error in
the court’s action was harmless. Jury instructions are subject
to the harmless error rule, and an erroneous jury instruction
requires reversal only if the error adversely affects the substan-
tial rights of the complaining party. State v. Dady, 304 Neb.
649, 936 N.W.2d 486 (2019). Harmless error review looks to
the basis on which the trier of fact actually rested its verdict;
the inquiry is not whether in a trial that occurred without the
error a guilty verdict surely would have been rendered, but,
rather, whether the actual guilty verdict rendered in the ques-
tioned trial was surely unattributable to the error. Id.   After the jury received revised jury instruction No. 4, it
found Jenkins guilty of assault by a confined person. It then
found, beyond a reasonable doubt, that a deadly weapon was
used during the assault. Accordingly, the jury convicted Jenkins
of the exact offense the State charged her with in the informa-
tion. Jenkins cannot show she was prejudiced in any way by
the submission of revised jury instruction No. 4 during the
jury’s deliberations.
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                         STATE v. JENKINS
                       Cite as 28 Neb. App. 931
   In her brief on appeal, Jenkins argues that, she was, in
fact, prejudiced by the submission of revised jury ­instruction
No. 4 due to the effect that revised jury instruction No. 4 had
on another jury instruction, namely jury instruction No. 13.
Jury instruction No. 13 permitted the jury to consider whether
Jenkins was guilty of aiding and abetting the assault of
Bordeaux. Jury instruction No. 13 read as follows:
         1. [Jenkins] can be guilty of Assault by a Confined
      Person even though she personally did not commit every
      act involved in the crime so long as she aided someone
      else to commit it. [Jenkins] aided someone else if:
         a. [Jenkins] intentionally encouraged or intentionally
      helped another person to commit the crime of Assault by
      a Confined Person; and
         b. [Jenkins] intended that an Assault by a Confined
      Person be committed; or [Jenkins] knew that someone else
      intended to commit an Assault by a Confined Person; and
         c. The Assault by a Confined Person in fact was com-
      mitted by that other person.
Essentially, Jenkins argues that revised jury instruction No. 4
in conjunction with jury instruction No. 13 permitted the jury
to find that “Jenkins committed an assault by a confined person
without a deadly weapon but had to be convicted of assault by
a confined person with a deadly or dangerous weapon merely
because [the jury believed that the actual perpetrator,] Fields[,]
used a deadly or dangerous weapon.” Brief for appellant at 42
(emphasis omitted).
   We do not agree with Jenkins’ interpretation of the effect
of revised jury instruction No. 4 on jury instruction No. 13.
Specifically, we do not find that the revisions to jury instruc-
tion No. 4 materially or necessarily altered the jury’s consid-
eration of the aiding and abetting instruction. Assuming that
the jury found that Jenkins was guilty of aiding and abetting
the assault of Bordeaux, as Jenkins suggests in her brief to
this court, the jury had to find beyond a reasonable doubt
that a weapon was used during the commission of the assault.
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                         STATE v. JENKINS
                       Cite as 28 Neb. App. 931
As such, even under a theory of aiding and abetting, the jury
could have found Jenkins guilty of the greater offense of
assault by a confined person with a deadly weapon. This result
could be reached under either the original or the revised ver-
sion of jury instruction No. 4.
   We conclude that any error by the district court in revising
jury instruction No. 4 after the jury had begun deliberating was
harmless because the jury ultimately convicted Jenkins of the
offense she was charged with in the information.

                        V. CONCLUSION
   We affirm Jenkins’ conviction for assault by a confined
person with a deadly weapon. The district court did not err in
overruling Jenkins’ motion for a mistrial made during the jury
selection process. The court also did not err in permitting a
prison employee to testify regarding statements the employee
overheard Jenkins make in her cell in the restrictive housing
unit. Finally, we find that any error the district court committed
in revising jury instruction No. 4 during the jury’s deliberations
was harmless.
                                                       Affirmed.
